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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA


                                        CIVIL MINUTES -GENERAL
 Case No.         ED CV-18-01044-PSG(MRWx)                                           Date   December 11, 2019

 Title            The Bank of New York Mellon v. Marguerite Deselms, et al.




 Present: The Honorable          PHILIP S. GUTIERREZ

                     Wendy Hernandez                                             Not Reported
                        Deputy Clerk                                            Court Reporter
               Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:

                         Not Present                                                 Not Present

 Proceedings(In Chambers):              VACATING SCHEDULING CONFERENCE

On the Court's own motion, the Scheduling Conference set for hearing on December 16, 2019 is
VACATED,and the following dates are hereby set. Please review the Court's trial order for further
details.


 Last Day to Add Parties &Amend Pleadings                                   January 16, 2020
(Doe defendants are dismissed as of cut-off to add parties)

 Discovery Cut-Off:                                                         June 21,2020
 Last Day to File Motion:                                                   June 16,2020

 Opening Expert Witness Disclosure [See F.R.Civ.P. 26(a)(2)]                June 9,2020

 Rebuttal Expert Witness Disclosure:                                        July 7, 2020
 Expert Discovery Cut-Off:                                                  July 28,2020
 Final Pretrial Conference (2:30 p.m.):                                     August 24,2020

 Jury Trial (9:00 a.m.):                                                    September 8,2020
 Estimated Length:                                                          4 Days



                                                              Initials of Preparer                 WH




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